      Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 1 of 16



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Attorneys for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 ASPEN AMERICAN INSURANCE                                Cause No.
 COMPANY,

              Plaintiff,                         COMPLAINT FOR
                                             DECLARATORY JUDGMENT
       v.

 WAGNER & LYONS, PLLC (f/k/a
 SULLIVAN, WAGNER & LYONS,
 PLLC); NATHAN WAGNER, ZANE
 SULLIVAN, JENNA LYONS, ARGO
 GROUP US, INC., JON WILLIAMS,
 DARRELL LEE CONSTRUCTION,
 LLC, MADDUX REAL ESTATE
 GROUP, INC., DAWN MADDUX,
 RALEIGH WARD, AND SUPERIOR
 HARDWOODS AND MILLWORK,
 INC., d/b/a GRIZZLY FLOORING
 INSTALLATION.

              Defendants.

      Plaintiff, Aspen American Insurance Company (“Aspen”), by and through

its attorneys, Brown Law Firm, P.C., and for its Complaint for Declaratory

Judgment, alleges as follows:

                                        1
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 2 of 16



      1.    This is a claim for relief brought by Aspen under Montana’s Uniform

Declaratory Judgment Act seeking a declaration that Aspen does not owe a duty of

defense or indemnity to Wagner & Lyons, PLLC (f/k/a Sullivan, Wagner & Lyons,

PLLC) (“Wagner Firm”); Nathan Wagner (“Wagner”); Zane Sullivan (“Sullivan”);

and, Jenna Lyons (“Lyons”) pursuant to a policy, and a renewal policy of insurance

issued to the Wagner Firm by Aspen.

      2.    Aspen seeks a declaration from this Court rescinding the contracts of

insurance identified as Lawyers Professional Liability Policy Number LPP00399-01

(attached hereto as Exhibit 1) and renewal policy identified as LPP00399-02

(attached hereto as Exhibit 2) (“Aspen Policy” or “Aspen Policies”).

      3.    Alternatively, Aspen seeks a declaration from this Court that Aspen has

no obligation to defend or indemnify the Wagner Firm, Wagner, Sullivan or Lyons

relating to the claim made pursuant to the sanction Orders issued in the lawsuit

known as James Kent Roberts and Susan Roberts v. Jon Williams; Darrel Lee

Construction, LLC; Maddux Real Estate Group, Inc.; Dawn Maddux; and Raleigh

Ward; Darrell Lee Construction LLC v. Superior Hardwoods and Millwork, Inc.

d/b/a Grizzly Flooring Installation (“Roberts Action” or “Underlying Action”) filed

in Montana Fourth Judicial District Court, Cause No.: DV-18-109.

                                   PARTIES

      4.    At the commencement of this action, Aspen American Insurance

Company is a Texas corporation.

                                        2
        Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 3 of 16



        5.    Wagner Legal, PLLC, f/k/a Wagner & Lyons, PLLC, f/k/a Sullivan,

Wagner & Lyons, PLLC is a Montana professional limited liability corporation.

        6.    Nathan Wagner is a Montana citizen and a partner in the Wagner

Firm.

        7.    Zane Sullivan is a Montana citizen and a former attorney with the

Wagner Firm.

        8.    Jenna Lyons is a Montana citizen and a former attorney with the

Wagner Firm.

        9.    Jon Williams is a Montana citizen.

        10.   Darrell Lee Construction, LLC was a Montana Corporation that was

involuntarily dissolved in 2016. Its registered agent was Jon Williams.

        11.   Maddux Real Estate Group, Inc. is a Montana Corporation, active and

in good standing. Its registered agent is Dawn Maddux.

        12.   Dawn Maddux is a Montana citizen.

        13.   Raleigh Ward is a Montana citizen.

        14.   Superior Hardwoods and Millwork, Inc., d/b/a Grizzly Flooring

Installation is a Montana corporation. Its registered agent is John Medlinger.

        15.   Argo Group US, Inc. is a Delaware corporation.




                                          3
      Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 4 of 16



                          JURISDICTION AND VENUE

      16.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a), as this

action is between citizens of different states, and the amount in controversy exceeds

$75,000, exclusive of costs and interest.

      17.    Venue is proper under 28 U.S.C. § 1391, as all Defendants, except Argo

Group US, Inc., are residents or corporations in Montana. Defendant Argo Group

US, Inc. is a Delaware corporation. The events or omissions giving rise to the claim

occurred in the District of Montana, Missoula Division.

      18.    There is an actual controversy over insurance coverage pursuant to 28

U.S.C. § 2201 and Federal Rule of Civil Procedure 57.

      19.    Jon Williams, Darrel Lee Construction, LLC, Maddux Real Estate

Group, Inc., Dawn Maddux, Raleigh Ward, Superior Hardwoods and Millwork,

Inc. d/b/a Grizzly Flooring Installation are parties the above-referenced underlying

district court action, and as such, are interested parties to this action for declaratory

judgment.

                            FACTUAL BACKGROUND

      20.    Nathan G. Wagner, as an owner, partner, principal, officer, or member

and on behalf of Sullivan, Wagner & Lyons, PLLC, completed a Lawyers

Professional Liability New Business Application, Aug. 13, 2020 (“Application”),

attached as Exhibit 3. Said Application to Aspen did not disclose the potential

claim of Superior.

                                            4
      Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 5 of 16



      21.    Nathan G. Wagner, as an owner, partner, principal, officer, or member

and on behalf of Sullivan, Wagner & Lyons, PLLC, completed a Lawyers

Professional Liability Renewal Application, Aug. 19, 2021 (“Application”),

attached as Exhibit 4. Said renewal Application to Aspen did not disclose the

potential claim of Superior.

      22.    Aspen issued a policy of insurance to Wagner Firm, policy number

LPP00399-01. The Aspen Policy is a claims-made and reported policy, issued for

the August 21, 2020 to August 21, 2021 policy period. The Aspen Policy has a

retroactive date of August 21, 2020.    See Exhibit 1: Aspen Policy.

      23.    Aspen issued a renewal policy of insurance to Wagner Firm, policy

number LPP00399-02. The Aspen Policy is a claims-made and reported policy,

issued for the August 21, 2021 to August 21, 2022 policy period. The Aspen

Policy contains a Predecessor Firm Endorsement naming Sullivan, Wagner &

Lyons, PLLC as a predecessor firm. The Aspen Policy has a retroactive date of

August 21, 2020. See Exhibit 2: Aspen Renewal Policy

      24.    The rights and obligations under the Aspen Policy between the insured,

Wagner Firm, including Aspen’s duties to defend and indemnify the Wagner Firm,

or rather, lack thereof, is the basis for this Declaratory Complaint.

      25.    The Underlying Action that potentially implicates the parties’ rights

under the Aspen Policy was filed in Montana Fourth Judicial District Court, Cause

No.: DV 18-109.

                                           5
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 6 of 16



      26.    On January 29, 2018, James Kent Roberts and Susan Roberts

(“Roberts”) filed a Complaint against Jon Williams (“Williams”), Darrell Lee

Construction, LLC (“DLC”), Maddux Real Estate Group, Inc., (“MREG”) Dawn

Maddux (“Maddux”) and Raleigh Ward (“Ward”). This matter arises out of a

construction defect to a house in Missoula, Montana.

      27.    On March 14, 2018, Williams, DLC, MREG, Maddux and Ward filed

a Counterclaim against Roberts.

      28.    On August 16, 2018, DLC, through its counsel, Sullivan and Wagner

of Datsopoulos, MacDonald & Lind, P.C., DLC filed a Third-Party Complaint

against Superior Hardwoods and Millwork, Inc. d/b/a Grizzly Flooring Installation

(“Superior”). DLC sought an order determining Superior was liable for damages

awarded to the Roberts; and that Superior was liable for attorney’s fees and costs

incurred by DLC in defending the Roberts’ claims.

      29.    On or about June 22, 2021, Superior filed a Motion for Summary

Judgment and Dismissal on DLC’s indemnification claim and for attorney’s fees

and costs, arguing the indemnification claims should be dismissed. Superior

asserted that the indemnification claims should be dismissed as the Roberts were

not alleging that Superior caused their damages, thus precluding an indemnity

claim by DLC for its own alleged damages. Superior argued that DLC, with

Superior’s knowledge, spoliated evidence when it directed Superior to sand the

flooring at issue in March 2018. In its motion, Superior alleged that DLC “and its

                                         6
      Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 7 of 16



counsel” had unclean hands. (Emphasis added). Pursuant to its June 2021 motion,

Superior sought an order awarding, jointly and severally, against defendants “and

their counsel” Superior’s costs, expenses and attorney’s fees incurred in defending

against the third-party action including sanctions for spoliation of evidence.

Exhibit 5: Mot. Summ. J. and Br. Support, June 22, 2021 (Dkts. 199-200).

      30.    On or about September 27, 2021, the Court granted Superior’s Motion

for Summary Judgment and awarded Superior its fees and costs. Exhibit 6: Order

(Dkt. 261) (“Order re: Summ. J.”)

      31.    In response to a Motion for Clarification, on or about March 29, 2022,

the Court issued an updated Order. The Court found that Wagner Firm, along with

Maddux defendants, are jointly and severally liable for sanctions, attorney’s fees,

costs, and expenses awarded to Superior as Wagner Firm tried to “maliciously

coerce” Superior into settlement on November 18, 2019, and again on December

17, 2019, and Wagner Firm and DLC directed Superior to re-sand the flooring at

issue with full knowledge of their duty to preserve evidence. The Court noted its

“inherent power to levy sanctions to curb abusive litigation practices.” Exhibit 7:

Order at 10, (Dkt. 336) (“Clarification Order”).

      32.    On or about August 4, 2022, the Court issued an Order Regarding

Attorney’s Fees and Costs; Order Granting Superior’s Motion to Quash; and

Denying Wagner & Lyons Rule 60(b) Motion for Relief (Dkt. 378). Exhibit 8:

Order Regarding Attorney’s Fees and Costs; Order Granting Superior’s Motion to

                                          7
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 8 of 16



Quash; and Denying Wagner & Lyons Rule 60(b) Motion for Relief (Dkt 378)

(“Order Re: Attorney Fees”).

      33.   The Court’s Order of August 4, 2022, ordered that Superior was

awarded $532,662.35 in attorney fees and costs. See Exhibit 8 at 10.

      34.   For purposes of the Aspen Policy, the Wagner Firm’s claim was “first

reported” pursuant to an email dated March 29, 2022, and letter dated March 22,

2022 received by Aspen on March 30, 2022, notifying Aspen of a claim that

Superior asserted against Wagner, Sullivan and Wagner Firm. On or about March

29 and 30, 2022, Aspen also received various pleadings relative to Superior’s

Motion for Summary Judgment.

      35.   Wagner firm was on notice of the claim against it and the firm’s

attorneys on or before June 22, 2021. On that date, Superior filed its Motion for

Summary Judgment which was not reported to Aspen at any time during the policy

period.

                               POLICY INFORMATION

      36.   The Aspen Policies, attached and identified as Exhibits 1 and 2,

contain the following relevant provisions:

I.    INSURING AGREEMENTS

A.    Coverage

      The Company will pay on behalf of the Insured all sums in excess of the
      deductible that the Insured shall become legally obligated to pay as
      damages and claim expenses as a result of a claim first made against the
                                         8
       Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 9 of 16



       Insured and reported in writing to the Company during the policy period or
       the extended reporting period (if applicable), by reason of an act or
       omission, including personal injury, in the performance of professional
       services by the Insured or by any person for whom the Insured is legally
       liable…
                                        ***
       2.    Neither the act or omission nor any related act or omission occurred
             prior to the retroactive date, if applicable.

Exhibit 1 at 10; Exhibit 2 at 4. (Italicized emphasis added.)

III.   DEFINITIONS
                                          ***
       B.    Claim means a demand for money or services, naming the Insured,
             arising out of an act or omission in the performance of professional
             services. A claim also includes the service of suit, a request that an
             Insured waive a legal right or sign an agreement to toll a statute of
             limitations, or the institution of an arbitration proceeding against
             the Insured.

(Italicized emphasis added).
                                       ***
       E.    Damages means any compensatory sum and includes a judgment,
             award or settlement, provided any settlement is negotiated with the
             Company’s written consent.

             Damages do not include:

             1.    The return, reduction or restitution of fees, expenses or costs for
                   professional services performed, or to be performed, by the
                   Insured and injuries that are a consequence of the foregoing;

             2.    Fines, penalties, forfeitures or sanctions;

             3.    The multiplied portion of any multiplied awards;

             4.    Injunctive or declaratory relief; or

             5.    Punitive or exemplary damages.

(Italicized emphasis added.)
                                        ***
                                          9
      Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 10 of 16



       H.    Insured means:

             1.    The Named Insured;

             2.    Any predecessor firm;

             3.    Any past, present or future partner, incorporated partner,
                   officer, director, stockholder, member, manage, associate,
                   independent contractor, professional corporation, employee, or
                   “of counsel” of the Named Insured, but only with respect to
                   professional services performed on behalf of the Named
                   Insured or any predecessor firm.

                                         ***
       K.    Policy Period means the period of time from the effective date shown
             in item 3. of the Declarations to the earliest of the date of termination,
             expiration or cancellation of this policy.

                                      ***
       N.    Professional services means services performed by the Insured:

             1.    For a client in the Insured’s capacity as a lawyer in good
                   standing, mediator, arbitrator, notary public, lobbyist or hearing
                   officer…

       O.    Related acts or omissions means all acts or omissions in the
             rendering of professional services that are temporally, logically or
             causally connected by any common fact, circumstance, situation,
             transaction, event, advice, or decision.

       P.    Related claims mean all claims arising out of a single act or omission
             or arising out of related acts or omissions.

       Q.    Retroactive date means the date shown in Item 8. of the
             Declarations, on or after which any act or omission must have
             occurred for coverage to apply.

Exhibit 1 at 13-15; Exhibit 2 at 7-9.

                                        ***

IV.    EXCLUSIONS
                                          10
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 11 of 16




      The Company will not defend or pay any claim:

      A.     Based on or arising out of any dishonest, intentionally wrongful,
             fraudulent, criminal or malicious act or omission by the Insured. The
             Company will provide the Insured with a defense of such claim
             unless and until such dishonest, intentionally wrongful, fraudulent,
             criminal or malicious act or omission has been determined by any
             final adjudication, finding of fact or admission by the Insured. Such
             defense will not waive any of the Company’s rights under this policy.
             Upon establishment that the dishonest, intentionally wrongful,
             fraudulent, criminal or malicious act or omission by the Insured was
             committed, the Company will have the right to seek recovery of the
             claim expenses incurred from the Insured found to have committed
             such acts or omissions.

             This exclusion shall not apply to those Insureds who did not
             personally participate or personally acquiesce in or remain passive
             after having knowledge of such conduct. Each Insured must promptly
             comply with all provisions of this policy upon learning
             of any concealment;

Exhibit 1 at 15-16; Exhibit 2 at 9-10.

                                           ***
V.    CONDITIONS

             A.    Reporting of Claims and Potential Claims

                   1.     The Insured, as a condition precedent to the obligation
                          of the Company under this policy, will give written
                          notice of any claim made against the Insured as soon as
                          reasonably practicable.

                   2.     If during the policy period, any Insured becomes aware
                          of any act or omission which may reasonably be expected
                          to be the basis of a claim against any Insured, including
                          but not limited to any notice, advice or threat, whether
                          written or verbal, that any person or entity intends to hold
                          the Insured responsible for any alleged act or omission
                          and gives written notice to the Company with a full
                          particulars, including:
                                         11
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 12 of 16




                          a.        The specific act or omission;

                          b.        The dates and persons involved;

                          c.        The identity of anticipated or possible claims;
                          d.        The circumstances by which the Insured first
                                    became aware of the potential claim; and

                          e.        Potential damages or injury;

                    Then any claim that is subsequently made against the Insured
                    arising out of such act or omission will be deemed to have been
                    made on the date such written notice was received by the
                    Company.

             The Insured shall give all written notices to the Company under this
             Condition V.A.1 and V.A.2. as specified in Item 7. of the
             Declarations. If notices are mailed or e-mailed, the date of mailing or
             e-mailing of such notice will constitute the date such notice was given
             and proof of mailing or e-mailing to the stated address shall be
             sufficient proof of notice.

Exhibit 1 at 17; Exhibit 2 at 11.

                                              ***
      N.     ENTIRE CONTRACT

             By acceptance of this policy the Insured warrants that:

             1.     All of the information and statements provided to the Company
                    by the Insured, including but not limited to, the application and
                    any supplemental information, are true, accurate and complete
                    and will be deemed to constitute material representations made
                    by the Insured;

             2.     This policy is issued in reliance upon the Insured’s
                    representations;

             3.     This policy, endorsements, thereto, together with the completed
                    and signed application, and any and all supplementary
                    information and statements provided by the Insured to the
                                            12
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 13 of 16



                   Company, embody all of the agreements existing between the
                   Insured and the Company and shall constitute the entire
                   contract between the Insured and the Company; and

             4.    Any material misrepresentation or concealment by the Insured,
                   or the Insured’s agent, will render the policy null and void and
                   relieve the Company from all liability herein.

Exhibit 1 at 19-20; Exhibit 2 at 13-14.

                                   COUNT ONE
                              Declaratory Judgment
                                    (Rescission)
      37.    Aspen re-pleads and incorporates by reference the allegations

set forth in paragraphs 1 – 36 above.

      38.    Aspen requests the Court determine the rights, obligations, and

responsibilities of the parties under the Aspen Policies pursuant to Mont. Code Ann.

§§ 27-8-201 et seq., with respect to contracts of insurance between Aspen, Wagner

Firm, Sullivan, Wagner, and Lyons.

      39.    Aspen requests the Court declare that the contracts of insurance

between Aspen, Wagner Firm, Sullivan, Wagner, and Lyons, be rescinded because:

      a.     The claim was not disclosed in the Wagner Firm’s Application for

             Insurance or the Renewal Application;

      b.     The information and statements provided to Aspen by Wagner,

             including but not limited to, the Application and any supplemental

             information, was not true, accurate or complete;

                                          13
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 14 of 16



       c.     Wagner made material misrepresentations and concealments in his

              Application and supplemental Application for insurance;

       d.     Wagner concealed information and potential claims on his

              Application and supplemental Application for insurance with Aspen;

       e.     Aspen relied upon Wagner’s Application and supplemental

              Application when it issued insurance policies to the Wagner Firm;

       40.    Aspen requests the Court declare the contracts of insurance with

Wagner Firm, Wagner, Sullivan, and Lyons be null and void and to relieve Aspen

from all liability.

       41.    Aspen requests the Court to declare that Aspen is entitled to

reimbursement and/or recoupment from Wagner Firm, Sullivan, Wagner, and

Lyons for defense costs and fees related to defending them in the underlying

matter.

       42.    Aspen requests the Court to declare that Aspen may rescind the Aspen

Policies and declare that said Policies are cancelled, made void, and no other

claims may be made to Aspen by Wagner Firm, Sullivan, Wagner, or Lyons under

the Aspen Policies.



                                   COUNT TWO
                               Declaratory Judgment
                (Claim Excluded – No duty to defend or indemnify)

                                          14
     Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 15 of 16



      43.    Aspen re-pleads and incorporates by reference the allegations

set forth in paragraphs 1 – 42 above.

      44.   Aspen requests the Court determine the rights, obligations, and

responsibilities of the parties under the Aspen Policies pursuant to Mont. Code Ann.

§§ 27-8-201 et seq., with respect to contracts of insurance between Aspen, Wagner

Firm, Sullivan, Wagner, and Lyons.

      45.    Aspen requests the Court declare that Aspen has no obligation to defend

or indemnify the Wagner Firm, Sullivan, Wagner, or Lyons of any claim made by

the Defendants because:

      a.     The claim was not first made and reported in writing during the Aspen

             policy period;

      b.     The claim is not a covered claim under the Aspen Policy;

      c.     The claim for payment of sanctions pursuant the Court’s Order is

             specifically excluded under the Aspen Policy;

      d.     The claim may be covered by other insurance, specifically the policy

             issued to Datsopoulos, MacDonald & Lind, P.C. by Argo;

      e.     The Wagner Firm, Sullivan, Wagner, and Lyons had notice of this

             claim prior to the policy effective date; and

      f.     Any other appropriate basis in the Aspen Policies or under Montana

             law as documented in discovery.


                                         15
    Case 9:22-cv-00147-DLC-KLD Document 1 Filed 09/08/22 Page 16 of 16



     WHEREFORE, Aspen requests the following relief by way of declaratory

judgment:

     1) That the Aspen Policies be rescinded and are declared null and void;

     2) An order declaring that Wagner Firm, Sullivan, Wagner or Lyons are

        obligated to reimburse Aspen for defense costs and fees incurred;

     3) That Aspen reimburse Wagner Firm, Wagner, Sullivan and Lyons the

        premiums paid for the Policies being rescinded;

     4) In the alternative, that this Court fully and finally adjudge the rights of the

        parties under the Aspen Policies pursuant to Montana law and Mont. Code

        Ann. §§ 27-8-201, et seq., declaring that Aspen has no duty to defend or

        indemnify the Wagner Firm, Sullivan, Wagner or Lyons under the Aspen

        Policies for the underlying claim;

     5) For its costs of suit; and

     6) For such other declaratory relief as the Court deems just and equitable

        under the circumstances.

                         DEMAND FOR JURY TRIAL

     Aspen hereby requests a trial by jury of all issues so triable.

     DATED this 8th day of September, 2022.

                                BROWN LAW FIRM, P.C.

                                /s/ Shane A. MacIntyre
                                Attorneys for Plaintiff
                                         16
